 20-01187-jlg     Doc 4         Filed 08/27/20    Entered 08/27/20 22:04:43     Main Document
                                                 Pg 1 of 1



UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
 In re Orly Genger,
                                                            Chapter 7
                      Debtor.
                                                            Case No. 19-13895-JLG


 ORLY GENGER, beneficiary of the Orly Genger
 1993 Trust,                                                 Adv. P. No. 20-01187-JLG

                            Petitioner,

 -against-

 DALIA GENGER, as trustee of the Orly Genger
 1993 Trust, and the Sagi Genger 1993 Trust,

                            Respondents.


             NOTICE OF ADJOURNMENT OF PRELIMINARY CONFERENCE

       Please be advised that the Court has adjourned the preliminary conference in this matter

until November 5, 2020. This notice is being filed at the instruction of the Court.



Dated: August 27, 2020

                                                              By: /s/ Michael Paul Bowen
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